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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                       UNITED STATES DISTRICT COURT                          December 23, 2021
                                                                              Nathan Ochsner, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                            VICTORIA DIVISION

The STATE OF TEXAS; and the            §
STATE OF LOUISIANA,                    §
                                       §
       Plaintiffs,                     §
                                       §
v.                                     §                 Civil Action No. 6:21-cv-00016
                                       §
The UNITED STATES OF AMERICA;          §
ALEJANDRO MAYORKAS, Secretary          §
of The United States Department of     §
Homeland Security, in his official     §
capacity; UNITED STATES                §
DEPARTMENT OF HOMELAND                 §
SECURITY; TROY MILLER, Senior          §
Official Performing the Duties of the  §
Commissioner of U.S. Customs           §
and Border Protection, in his official §
capacity; U.S. CUSTOMS AND BORDER §
PROTECTION; TAE JOHNSON, Acting §
Director of U.S. Immigration and       §
Customs Enforcement, in his official   §
capacity; U.S. IMMIGRATION AND         §
CUSTOMS ENFORCEMENT; TRACY             §
RENAUD, Senior Official Performing the §
Duties of the Director of the U.S.     §
Citizenship and Immigration Services,  §
in her official capacity; and U.S.     §
CITIZENSHIP AND IMMIGRATION            §
SERVICES,                              §
                                       §
       Defendants.                     §

                                       ORDER

      The Court ORDERS the following:

      1.    The Parties’ previous briefing and exhibits, including any supplemental
            briefing or extra-record evidence including affidavits or declarations, on
            Plaintiffs’ Motion to Postpone the Effective Date of Agency Action or, in the
            Alternative, for Preliminary Injunction, (Dkt. No. 111), challenging the
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       Secretary of Homeland Security’s Guidelines for the Enforcement of Civil
       Immigration Law (Sept. 30, 2021), e.g., (Dkt. Nos. 109, 111, 115, 116, 122,
       128, 130, 131), are incorporated and consolidated with this Court’s
       consideration of the merits pursuant to Federal Rule of Civil Procedure
       65(a)(2). Pursuant to the Parties’ agreement, the evidentiary materials
       attached to their previous briefing, and any supplemental exhibits,
       affidavits, or declarations they may submit, are admitted as authentic and
       without need of a sponsoring witness and are presumptively admitted as
       “part of the trial record and need not be repeated at trial.” Fed. R. Civ. P.
       65(a)(2). All objections, including to the Court’s consideration of extra-
       record evidence, however, are considered preserved subject to the
       remaining schedule for raising such objections.

 2.    The Parties may submit additional affidavits or declarations, and those
       affidavits or declarations shall be limited to supplementing previously filed
       affidavits or declarations.

 3.    The Parties may call up to three live witnesses at trial per side. No new
       witness may be called in rebuttal.

 4.    Defendants’ deadline of January 27, 2022, to file a responsive pleading,
       (Dkt. No. 114), is VACATED. That deadline is STAYED absent further
       order of the Court.

 5.    The following deadlines shall control the disposition of this case:

       a.     No later than January 11, 2022:

              i.     Plaintiffs shall file an Exhibit List identifying any affidavits,
                     declarations, or documentary evidence, other than the
                     administrative record, that they may wish the Court to
                     consider, including any documents they may seek to
                     introduce through live testimony. In lieu of repeated filings,
                     Plaintiffs may designate previously filed affidavits,
                     declarations, or documentary evidence. Plaintiffs are not
                     required to identify documents they may potentially rely
                     upon in cross-examination for purposes of impeachment.
                     Plaintiffs shall produce courtesy copies to the Court and the
                     Defendants of the proposed Exhibits but shall not file them.

              ii.    Plaintiffs shall file a Witness List identifying any witness they
                     seek to call for live testimony at trial. For each witness,
                     Plaintiffs shall provide the topics and scope of the expected



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                    testimony. Plaintiffs may re-call any of their witnesses in
                    rebuttal to Defendants’ witnesses’ testimony.

             iii.   Defendants shall file the administrative record that they
                    previously served on Plaintiffs.

       b.    No later than January 20, 2022:

             i.     Defendants shall file an Exhibit List identifying any affidavits,
                    declarations, or documentary evidence, other than the
                    administrative record, that they may wish the Court to
                    consider, including any documents they may seek to
                    introduce through live testimony. Defendants are not
                    required to identify documents they may potentially rely
                    upon in cross-examination for purposes of impeachment.
                    Defendants shall produce courtesy copies to the Court and
                    the Plaintiffs of the proposed Exhibits but shall not file them.

             ii.    Defendants shall file a Witness List identifying any witness
                    they seek to call for live testimony at trial. For each witness,
                    Defendants shall provide the topics and scope of the expected
                    testimony.

       c.    No later than January 24, 2022:

             i.     The Parties shall file any motions to exclude evidence or
                    witnesses. These motions are without prejudice to objections
                    at trial to particular testimony or particular uses of a piece of
                    evidence and are apart from any argument about extra-record
                    evidence.

       d.    No later than January 26, 2022:

             i.     The Parties shall separately submit proposed findings of fact
                    and conclusions of law. Each party must specify all proposed
                    findings it anticipates establishing at trial. To the extent
                    possible in advance of trial, cite deposition or declaration
                    testimony, expected witness testimony, exhibits, or other
                    evidence to support each proposed finding.            Specify
                    stipulated or agreed facts.

       e.    No later than January 27, 2022 at 5:00 PM:

             i.     The Parties shall file responses to any motion to exclude
                    evidence or witnesses.

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       f.    The Parties shall appear for a Final Pretrial Conference on January
             31, 2022, at 1:00 p.m. in Courtroom 11A in Houston, Texas. The
             Court may address pending motions and objections and pre-mark
             and pre-admit exhibits.

       g.    Trial shall begin on February 1, 2022 at 9:00 a.m. in Courtroom 11A
             in Houston, Texas.

       h.    The Parties shall present argument the business day after evidence
             is closed.

       i.    No later than February 17, 2022, the Parties shall file a Joint Proposed
             Findings of Fact and Conclusions of Law. The Parties may file any
             post-trial memoranda of law no later than this date.

 It is SO ORDERED.

 Signed on December 23, 2021.


                                         ___________________________________
                                                   DREW B. TIPTON
                                         UNITED STATES DISTRICT JUDGE




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